     Case 5:21-cv-00616-JWH-SP Document 183-2 Filed 09/07/22 Page 1 of 4 Page ID #:2423




 1      ILYA ALEKSEYEFF [CA 242462]
           ilya@loia.legal
 2      LOIA, INC. (APLC)
 3      727 W 7th St PH 1-13
        Los Angeles, CA 90017
 4
        Tel: (213)537-4592
 5
 6      Attorney for Artur Elizarov

 7
 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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11
         GOLDWATER BANK, NA,                              5:21-cv-616-JWH-SP
12                                       Plaintiff,
13                                                        DECLARATION OF ILYA
         vs.                                              ALEKSEYEFF REGARDING A
14
                                                          CONFERENCE UNDER LOCAL
15       ARTUR ELIZAROV ET AL,                            RULE 7-7
                            Defendant.
16
                                                          Date: 10/21/2022
17       AND RELATED CROSS-ACTION.                        Time: 9:00 am
18                                                        Court: Hon. John W. Holcomb
19
20             1.    My name is Ilya Alekseyeff.
21             2.    I am an attorney and a member in good standing of the California
22      State Bar and the bar of this District Court for the Central District of California.
23             3.    I have represented Mr. Artur Elizarov in these proceedings.
24                                                    1
25             4.    On August 12, 2022, I emailed attorneys Bast, LeVota, and Maurice,
26      and requested a pre-filing conference under Local Rule 7-3.
27             5.    I recognize Exhibit PP as a printout of my email to attorneys Bast,
28      LeVota, and Maurice, which I sent on Date.
                                               1
          DECLARATION OF ILYA ALEKSEYEFF REGARDING A CONFERENCE
                                 UNDER LOCAL RULE 7-7
     Case 5:21-cv-00616-JWH-SP Document 183-2 Filed 09/07/22 Page 2 of 4 Page ID #:2424




 1            6.    No counsel replied to my email in Exhibit PP.
 2                                               2
 3            7.    On August 18, 2022, I emailed attorneys Bast, LeVota, and Maurice
 4      again, reminded counsel about the upcoming conference deadline, and requested a
 5      conference under Local Rule 7-3.
 6            8.    I recognize Exhibit RR as an exact printout of the second email that I
 7      sent to attorneys Bast, LeVota, and Maurice on August 18, 2022.
 8            9.    Attorney Bast responded to my second email in Exhibit RR and
 9      suggested 1:00 pm Pacific Time on August 25, 2022, for a conference.
10            10.   I subsequently circulated a conference link to all counsel.
11            11.   I recognize Exhibit SS as a printout of the conference confirmation as
12      generated by my chosen conferencing platform Google Meet.
13                                               3
14            12.   At 12:05 pm on August 25, 2022, I received by email a letter from
15      attorney LeVota that addressed some of LeVota’s points about my motion.
16            13.   I recognize Exhibit TT as an exact copy of attorney LeVota’s letter
17      that I received by email from attorney LeVota on August 25, 2022, as well as the
18      enclosing email.
19                                               4
20            14.   The conference began as scheduled at 1:00 pm on Date.
21            15.   Only attorneys Bast and LeVota joined me at the conference.
22            16.   Neither attorney Maurice no any other counsel from Ivie McNeill
23      Wyatt Purcell & Diggs (including attorney Wyatt whose name also appeared in the
24      pleadings) joined the conference.
25            17.   Attorneys Bast and LeVota stated that neither had spoken to nor heard
26      from attorney Maurice.
27
28
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          DECLARATION OF ILYA ALEKSEYEFF REGARDING A CONFERENCE
                           UNDER LOCAL RULE 7-7
     Case 5:21-cv-00616-JWH-SP Document 183-2 Filed 09/07/22 Page 3 of 4 Page ID #:2425




 1                                                5
 2            18.    At the conference, attorneys Bast and LeVota shared their feedback to
 3      my motion but did not cite any authorities to support their points.
 4                                                6
 5            19.    On August 26, 2022, I sent a follow-up letter to all counsel where I
 6      addressed seven separate points that attorneys Bast and LeVota raised at the
 7      conference on Date.
 8            20.    Since attorneys Bast and LeVota cited no authority for their issues, I
 9      explicitly asked attorneys Bast and LeVota to respond with the authorities.
10            21.    I recognize Exhibit UU as an exact copy of the letter that I emailed to
11      attorneys Bast and LeVota on August 26, 2022, as well as the enclosing email.
12                                                7
13            22.    On August 31, 2022, I received by email a letter from attorney
14      LeVota.
15            23.    I recognize Exhibit VV as the letter that I received by email from
16      attorney LeVota on August 31, 2022, as well as the enclosing email.
17            24.    Nothing in attorney LeVota’s letter persuaded me to change my
18      position on the motion.
19                                                8
20            25.    On September 1, 2022, I received by email a letter from attorney Bast.
21            26.    I recognize Exhibit WW as the letter that I received by email from
22      attorney Bast on September 1, 2022, as well as the enclosing email.
23            27.    Nothing in attorney Bast’s letter persuaded me to change my position
24      on the motion.
25                                                9
26            28.    As of today’s date, I have not heard back from attorney Maurice nor
27      any other counsel from Ivie McNeill Wyatt Purcell & Diggs, including attorney
28      Wyatt whose name also appeared on the pleadings.
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         DECLARATION OF ILYA ALEKSEYEFF REGARDING A CONFERENCE
                                 UNDER LOCAL RULE 7-7
     Case 5:21-cv-00616-JWH-SP Document 183-2 Filed 09/07/22 Page 4 of 4 Page ID #:2426




 1                                              10
 2            29.   As of today’s date, attorneys Bast, LeVota, and Maurice have not
 3      withdrawn any of the challenged allegations from Goldwater’s amended verified
 4      complaint, EFD # 44.
 5                                             ###
 6            I declare under penalty of perjury under the laws of the United State that the
 7      foregoing statements are true on my personal knowledge.
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 9
10      Dated: 09/07/2022               Signature:
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          DECLARATION OF ILYA ALEKSEYEFF REGARDING A CONFERENCE
                           UNDER LOCAL RULE 7-7
